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                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

                                       )
Symbology Innovations, LLC,            )
                                       )
                          Plaintiff,   )
v.                                     )       C.A. No. 2:15-cv-01176-JRG-RSP
                                       )
Government Employees Insurance Company )
(d/b/a GEICO),                         )
                                       )
                          Defendant.   )
                                       )
                                       )




       DEFENDANT GEICO’S MOTION TO DISMISS, OR ALTERNATIVELY,
                  FOR MORE DEFINITIVE STATEMENT




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         Defendant Government Employees Insurance Company (“Defendant” or “GEICO”)

respectfully moves the Court to dismiss the indirect infringement claims of Plaintiff Symbology

Innovations, LLC (“Plaintiff” or “Symbology”) as set forth in Symbology’s complaint (Dkt. 1)

for failure to state a claim. Alternatively, GEICO moves the Court for an order requiring

Symbology to provide a more definite statement of Symbology’s indirect infringement claims.

I.       INTRODUCTION

         Symbology’s indirect infringement claims are fatally deficient. Symbology’s complaint

includes the bare assertion that “Defendant has infringed and continues to infringe . . . through

acts of contributory infringement or inducement.” Dkt. 1 [Compl.],¶¶ 13, 23, 33. The complaint

includes no other allegations related to indirect infringement.      The complaint includes no

allegations of knowledge of the Asserted Patents, nor any allegations of direct infringement by a

third party. The complaint recites no acts of active inducement by GEICO, no allegations that

the accused components are especially made for use in infringement, and no assertions that the

accused components have no substantial non-infringing use. Symbology utterly fails to allege

the requisite elements of inducement and contributory infringement, let alone sufficient facts to

support such allegations. Accordingly, Symbology’s indirect infringement claims cannot stand

as currently alleged.

II.      ISSUES TO BE DECIDED

         1.     Whether the induced infringement claims in Counts I-III of the complaint fail to

state a claim upon which relief may be granted.

         2.     Whether the contributory infringement claims in Claims I-III of the complaint fail

to state a claim upon which relief may be granted.




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III.   BACKGROUND

       Symbology filed its complaint against GEICO on June 30, 2015, alleging direct, induced,

and contributory infringement of three patents: U.S. Patent Nos. 8,424,752 (the “’752 Patent”),

8,651,369 (the “’369 Patent”), and 8,936,190 (the “’190 Patent”) (collectively, the “Asserted

Patents”). Dkt. 1 [Compl.] ¶¶ 8-37.

       For its induced and contributory infringement claims, Symbology merely repeats the

following two paragraphs:

       Upon information and belief, Defendant has infringed and continues to infringe
       one or more claims, including at least Claim 1, of the [Asserted Patents] by
       making, using, and/or printing Quick Response Codes (QR codes) covered by one
       or more claims of the ‘752 Patent. Defendant has infringed and continues to
       infringe the [Asserted Patents] either directly or through acts of contributory
       infringement or inducement in violation of 35 U.S.C. § 271.

       Defendant has made, used, and/or printed QR codes on printed and/or electronic
       media, including advertising and packaging, associated with select products
       and/or services. One specific example of Defendant’s activity involves the use of
       QR Codes on letter in direct-mail marketing of insurance services. A user
       scanning the QR Code is provided with information concerning product
       information including insurance rate quotes. Upon being scanned, the QR code
       remotely transmits information regarding the product to the user via a device,
       such as a smart phone, for example. The use of QR codes in this manner infringes
       at least Claim 1 of the [Asserted Patents].

Id., ¶¶ 13-14, 23-24, 33-34 (emphasis added). These paragraphs do no more than provide naked

assertions of induced and contributory infringement. They fail to even allege the legal elements

of induced and contributory infringement, let alone specific facts to support such allegations.

IV.    LEGAL STANDARD

       Claims for indirect infringement must be judged by the pleading standards articulated in

Twombly and Iqbal. In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d

1323, 1337 (Fed. Cir. 2012) (“[W]e must look to Supreme Court precedent for guidance

regarding the pleading requirements for claims of indirect infringement.”). To state a valid


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claim, a complaint must include a “short and plain statement of the claim showing that the

pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), and must allege specific facts in support of

each such claim. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice.”); Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007) (finding that a “naked assertion” of wrongdoing

without “factual enhancement” does not state a claim). The purpose of this threshold pleading

standard is twofold: (1) to show that the plaintiff has some reasonable basis for its allegations;

and (2) to put the defendant on “fair notice” of the claims at issue. See Iqbal, 556 U.S. at 698;

Twombly, 550 U.S. at 555 (explaining a complaint must “give the defendant fair notice of what

the . . . claim is and the grounds upon which it rests” (citation omitted)).

       A claim for induced infringement under 35 U.S.C. § 271(b) requires proof: (1) of an act

of direct infringement by another; and (2) that the defendant knowingly induced the infringement

with the specific intent to encourage the other’s infringement. MEMC Elec. Materials, Inc. v.

Mitsubishi Materials Silicon Corp., 420 F.3d 1369, 1378 (Fed. Cir. 2005). The intent element

requires that the defendant “[know] that the induced acts constitute patent infringement.”

Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2068 (2011); see also DSU Med.

Corp. v. JMS Co. Ltd., 471 F.3d 1293, 1306 (Fed. Cir. 2006) (“[I]nducement requires ‘that the

alleged infringer knowingly induced infringement and possessed specific intent to encourage

another’s infringement.”’). Thus, in order to survive a motion to dismiss, the complaint must (1)

adequately plead direct infringement by defendant’s customers, (2) contain facts plausibly

showing that defendant specifically intended for its customers to infringe the asserted patents,

and (3) contain facts plausibly showing that defendant knew that the customer’s acts constituted

infringement. See Bill of Lading, 681 F.3d at 1339.



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       A claim for contributory infringement under 35 U.S.C. § 271(c) requires proof: (1) of an

act of direct infringement; (2) that the defendant “knew that the combination for which its

components were especially made was both patented and infringing”; and (3) that the

components have “no substantial non-infringing uses.” Cross Med. Prods., Inc. v. Medtronic

Sofamor Danek, Inc., 424 F.3d 1293, 1312 (Fed. Cir. 2004). A complaint fails to properly plead

a claim of contributory infringement if it does not contain sufficient facts from which the Court

may conclude that the claim is plausible. Bill of Lading, 681 F.3d 1337.

       Here, Symbology simply makes a bare assertion of induced and contributory

infringement. Symbology fails to assert any facts from which the Court may conclude the

claims are plausible.

V.     ARGUMENT

       A.      The Complaint Includes No Allegations of Knowledge of the Asserted Patents
               Nor Allegations of Direct Infringement by a Third Party

       Symbology’s complaint fails to include the two most basic elements of any indirect

infringement claim—knowledge of the Asserted Patents and direct infringement by a third party.

Thus, there is no plausible claim of indirect infringement because there are simply no facts in the

complaint to support these claims.

       The complaint includes no allegations related to knowledge of the Asserted Patents.

“Absence of knowledge is a fatal flaw in a claim for indirect infringement.”           Aguirre v.

Powerchute Sports, LLC, No. SA-10-CV-702-XR, 2011 WL 3359554, at *5 (W.D. Tex. Aug. 4,

2011) (dismissing indirect infringement claims where complaint “did not allege [defendant] had

knowledge as to either of the forms of indirect patent infringement”). Plaintiff asserts that

“Defendant has infringed and continues to infringe the [Asserted Patents] either directly or

through acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.”


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Dkt. 1, ¶¶ 13, 23, 33 (emphasis added). This allegation implies that Symbology is claiming pre-

suit indirect infringement.   But, Symbology fails to allege any knowledge of the Asserted

Patents—pre-suit or post-suit—to support its claim of indirect infringement. Thus, GEICO “and

the Court must speculate as to the extent and scope of Plaintiff's [indirect] infringement claim.

Such allegations are not sufficient to satisfy the pleading standard established in Iqbal and

Twombly.” Affinity Labs of Texas, LLC v. Toyota Motor N. Am., No. 13-cv-365, 2014 WL

2892285, at *4 (W.D. Tex. May 12, 2014).

        Similarly, the complaint fails to adequately identify any direct acts of infringement by a

third party. Although the complaint does reference a “user” of GEICO’s marketing material, this

“user” is referenced in the context of GEICO’s alleged direct infringement, not the user’s:

        One specific example of Defendant’s activity involves the use of QR Codes on
        letter in direct-mail marketing of insurance services. A user scanning the QR
        Code is provided with information concerning product information including
        insurance rate quotes. Upon being scanned, the QR code remotely transmits
        information regarding the product to the user via a device, such as a smart phone,
        for example. The use of QR codes in this manner infringes at least Claim 1 of the
        [Asserted Patents].

Dkt. 1, ¶¶ 14, 24, 34 (emphasis added). Symbology alleges that GEICO’s activities, involving

the transmission of information to the user when the QR Code is scanned, directly infringes the

Asserted Patents. Symbology never alleges what acts by the user results in direct infringement.

Thus, GEICO has no “fair notice of what [Symbology’s indirect infringement] claim is and the

grounds upon which it rests.” Twombly, 550 U.S. at 555.

        Without any allegations relating to knowledge of the Asserted Patents and direct

infringement by a third party, there is no question that Symbology’s indirect infringement claims

are deficient.




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       B.     Symbology Fails to Properly Allege the Other Elements of Induced
              Infringement

       Even setting aside Symbology’s failure to allege knowledge of the Asserted Patents and

direct infringement by a third party, Symbology’s inducement claim cannot survive because it

fails to recite the other elements of induced infringement. In particular, Symbology fails to

allege that GEICO had the specific intent to induce a third party’s actions, and knowledge that

those actions amounted to infringement.

       This Court has dismissed indirect infringement claims that included far more detail than

the claims here. In Core Wireless Licensing v. Apple Inc., the Court considered a complaint that

alleged that defendant “provides instructive materials and information concerning operation and

use of the accused products.” No. 6:14-CV-752-JRG-JDL, 2015 WL 4910427, at *4 (E.D. Tex.

Aug. 13, 2015). The Court found these factual allegations insufficient to support a claim of

inducement—“generic allegations that an alleged infringer provides instructional materials along

with the accused products, without more, are insufficient to create a reasonable inference of

specific intent for the purposes of an induced infringement claim.” Core Wireless Licensing

S.A.R.L. v. Apple Inc., No. 6:14-CV-752-JRG-JDL, 2015 WL 4910427, at *4 (E.D. Tex. Aug.

13, 2015).

       Here, Symbology does not allege any facts that establish a plausible inference that

GEICO has the specific intent to induce its customer’s actions (nor does Symbology even

identify what those customer’s action are). Symbology identifies no instructional materials or

guides, or any other acts by GEICO that would direct its customer’s actions. Therefore, as in

Core Wireless, Symbology’s induced infringement claim must be dismissed.




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       C.      Symbology Fails to Properly Allege the Other Elements of Contributory
               Infringement

       Like Symbology’s induced infringement claims, Symbology’s complaint fails to recite

the other elements of contributory infringement. In particular, Symbology fails to allege that the

accused components are especially made for use in infringement and that the accused

components have no substantial non-infringing uses.

       In U.S. Ethernet Innovations, LLC v. Cirrus Logic, Inc., the complaint included

allegations that the accused products “embody the patented invention” and “customers who

purchase systems and components thereof and operate such systems and components thereof in

accordance with [defendant’s] instructions directly infringe one or more claims.” No.

6:12cv366-MHS-JDL, 2013 WL 8482270, at *4 (E.D. Tex. Mar. 6, 2013). Plaintiff argued that

an inference of “no substantial non-infringing use” could be taken from these allegations. But,

this Court rejected that argument, finding that those allegations “do not alone create a reasonable

inference that the accused components have no substantial non-infringing use.” Id.

       Here, the complaint is even more deficient. Again, Symbology’s complaint fails to even

identify any third party acts of direct infringement, let alone allege any facts that would lead to a

reasonable inference that such acts have no substantial non-infringing alternatives. Therefore, as

in U.S. Ethernet Innovations, Symbology’s contributory infringement claim must be dismissed.

VI.    CONCLUSION

       For the foregoing reasons, GEICO respectfully requests the Court dismiss Symbology’s

indirect infringement claims. Alternatively, GEICO respectfully requests that the Court order

Symbology to provide a more definite statement of its indirect infringement claims.




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Dated: October 5, 2015              Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(a)(3) on October 5, 2015.


                                                         /s/ Michael E. Jones




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